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                                                             February 10, 2025
By ECF and Electronic Mail
Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:     United States v. Sinmyah Amera Ceasar, 17-cr-48 / 19-cr-117 / 22-cr-459 (KAM)

Dear Judge Matsumoto,

        Defense counsel writes in response to the Court’s docket order, dated February 7, 2025,
directing counsel to inform the Court by February 11, 2025, whether we intend to make an
application on Ms. Ceasar’s behalf regarding her pro se letter to the court requesting a transfer to
another jail. See ECF No. 53. After consultation with Ms. Ceasar, it appears the situation at
MDC Brooklyn is currently tenable for Ms. Ceasar, so we are not requesting a transfer at this
time. We will keep the Court informed of any developments.


                                                              Respectfully Submitted,
                                                              _______/s/___________
                                                              Samuel I. Jacobson
                                                              Deirdre D. von Dornum
                                                              Federal Defenders of New York
                                                              Counsel for Sinmyah Amera Ceasar


Cc:    Counsel of Record (by ECF)
